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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

E.G., individually and as parent and natural
guardian of A.I. and L.I., minor children;
M.M., individually and as parent and natural
guardian of E.H., L.H., Ev.P., and E.P.,
minor children; O.M., individually and as
parent and natural guardian of A.M., a minor   CIVIL ACTION NO. 1:20-cv-9879 (AJN)
child; and COALITION FOR THE
HOMELESS, on behalf of themselves and
all others similarly situated,
                Plaintiffs,

       v.

THE CITY OF NEW YORK; NEW YORK
CITY DEPARTMENT OF EDUCATION;
RICHARD A. CARRANZA, as Chancellor of
the New York City Department of Education;
NEW YORK CITY DEPARTMENT OF
SOCIAL SERVICES; STEVEN BANKS, as
Commissioner of the New York City
Department of Social Services; NEW YORK
CITY DEPARTMENT OF HOMELESS
SERVICES; JOSLYN CARTER, as
Administrator of the New York City
Department of Homeless Services; NEW
YORK CITY HUMAN RESOURCES
ADMINISTRATION; GARY JENKINS as
Administrator of the New York City Human
Resources Administration; NEW YORK
CITY DEPARTMENT OF INFORMATION
TECHNOLOGY AND
TELECOMMUNICATIONS; and JESSICA
TISCH, as Commissioner of the New York
City Department of Information Technology
and Telecommunications,,

              Defendants.


    DECLARATION OF MICHAEL MCGRATH IN SUPPORT OF DEFENDANTS’
   OPPOSITION TO PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION




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       I, Michael McGrath, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as
follows:

       1.      I am the Deputy Commissioner and Chief Operating Officer at the New York City

Department of Information Technology & Telecommunications (“DoITT”). I submit this

Declaration in support of the defendants’ opposition to plaintiffs’ motion for a preliminary

injunction. As Deputy Commissioner and Chief Operating Officer, my responsibilities include

oversight of DoITT’s Infrastructure, Applications, Security and Support for non-public safety

systems. I am providing executive leadership with a deep involvement in the efforts associated

with broadband deployment detailed in this declaration. I am familiar with the matters set forth

herein, based on my personal knowledge, experience and observations, conversations with

DoITT staff, and review of documents.

       2.      On March 15, 2020, Mayor de Blasio announced that New York City’s vast

system of over 1,800 public schools would close as a result of the Covid-19 pandemic and that

the City, through the New York City Department of Education (DOE), would undertake the

enormous challenge of shifting to educating remotely the system’s 1.1 million students, many of

whom had limited internet access. Since that date, DoITT has assisted the DOE with, and been

closely involved in, the City of New York’s (the “City”) extraordinary and ongoing efforts to

address the technology needs and challenges created by this monumental shift in the lives of 1.1

million students.

       3.      When it became apparent that the schools would need to close in March of 2020,

the City recognized that it would have to act quickly to secure technology and internet access for

hundreds of thousands of students who did not have an internet-connected device at home. The

Mayor and DoITT Commissioner Jessica Tisch immediately reached out to senior executives at

Apple and secured the company’s commitment to provide the City with 300,000 iPads to

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distribute to students. Commissioner Tisch also immediately reached out to senior executives at

the major cellular service providers to solicit offers to provide cellular data service plans for the

iPads and secured T-Mobile’s commitment to provide unlimited cellular data plans for the iPads

at affordable rates.

        4.      Distributing approximately 300,000 iPads that students could immediately utilize

upon receipt at their homes during the height of the pandemic in New York City was an

unprecedented operational and logistical challenge and required the mobilization of significant

resources. In March and April 2020, DoITT, working with IBM, set up 4 warehouses that were

used as locations for contractors to unpack the iPads provided by Apple, provision them with T-

Mobile SIM cards, download apps and other programs for students to utilize, and repackage

them with cases for shipment directly to students at their homes. Recognizing that students

residing in New York City shelters would likely not have access to suitable technology and/or

the internet, the DOE prioritized the distribution of iPads to those students first. Due to the

extraordinary efforts of everyone involved, the distribution of the first 300,000 iPads was largely

completed by early May. Subsequently, DOE purchased and provisioned an additional 50,000

iPads. We are now in the process of obtaining, provisioning and delivering another 100,000

iPads to meet the ongoing needs of students.

        5.      After schools reopened in the middle of September, DoITT worked with DOE and

the New York City Department of Social Services (“DSS”) to strategize on how to address

problems that some students at shelters were having connecting to the internet utilizing the iPads

the City provided. Ultimately, DOE undertook an effort to switch the cellular data plans for the

iPads of affected students from T-Mobile to Verizon, because in certain parts of the City,




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Verizon’s network may provide more reliable cellular service than T-Mobile. These efforts are

detailed in the declaration of Anuraag R. Sharma.

       6.      Beginning in the middle of October, DoITT was asked to begin exploring options

for the installation of WiFi at New York City shelters to provide additional options for students.

       7.      The installation of WiFi at 202 shelter buildings selected by DSS for this project

is an enormous undertaking. In order to provide students with the most optimal WiFi

connections, each apartment within the shelter must be wired and provided an in-unit cable

modem. DoITT considered less robust alternatives, such as only wiring common areas within

the shelters, but DSS and DOE determined, and DoITT agreed, that it was not advisable to

require students to congregate in common areas in order to access the internet during a

pandemic. In addition, wiring only common areas would introduce technical challenges and

limitations regarding the number of students that could simultaneously connect using the

installed access points, and the shared consumption of bandwidth.

       8.      Many of the shelter buildings are not connected to the external carrier’s cable

infrastructure in the street and do not have the in-building infrastructure required to run the WiFi

cable throughout the building (e.g., risers, conduit, etc.). For these buildings, the cable in the

street must be wired into the building, then through newly constructed risers inside the building

(e.g. elevator shafts or stairwells) in order to reach each floor, and then through newly

constructed conduit in hallways and then into individual apartments. As a result, the installation

of WiFi in many of the shelters will require construction projects customized for each building

and unit. In some cases, shelters may have some existing internal infrastructure, such as risers,

but that infrastructure may need to be updated or replaced. While the work required to install

WiFi at each of the 202 shelter buildings selected by DSS for this project may vary, we expect,



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and initial surveys confirm, that a large portion of the shelters will require significant

construction in order to provide WiFi connection and cable modems within each apartment.

        9.      In the middle of October, DoITT reached out to Charter Communications,

(“Charter”) and Altice USA, (“Altice”), which hold residential cable franchise to provide

residential cable (and therefore, internet) services in New York City 1, in order to discuss the

potential installation of WiFi connectivity at New York City shelters. These companies were

selected based on the size of their existing footprints (i.e., their wire was already in or nearby all

of the buildings), and their ability to marshal crews to perform the necessary construction work

(e.g., installation of risers and conduit). .

        10.     On October 27, 2020, the Mayor directed DoITT to roll out the installation of

WiFi at all New York City shelters. In less than one week, on November 1, Altice executed

documentation with DoITT to install WiFi at shelters located within the geographic coverage of

its franchise, as well as to provide all modems and routers, ongoing service and to provide

quality guarantees for upload and download speeds. Charter executed similar documentation on

November 6. Given the significance of this issue, and the City’s commitment to this effort, the

parties went through extraordinary efforts to quickly finalize these documents. And both

companies commenced surveys and start-up work even while the lawyers were hammering out

the agreements.

        11.     Pursuant to those agreements, Charter will install WiFi at 58 shelter buildings and

Altice will install WiFi at 144 shelters.2



1
  Charter’s franchise covers Manhattan, Queens, Staten Island and a small portion of Brooklyn.
Altice’s franchise covers the majority of Brooklyn and the Bronx.
2
  DSS provided us with the list of shelter buildings for this project. The Declarations of Erica
Dean and Nicole Doniger explain how that list was developed.

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       12.     For each site, Charter and Altice must first undertake a site survey. They must

walk through the building to compare the actual layout with the floorplans and determine what, if

any, existing infrastructure exists. They must examine the condition of any existing cabling,

which may have been touched by multiple vendors over time and may need to be replaced. They

have to determine the entrance point for cabling into the building and confirm the servicing

manhole or pole, if aerial cable is involved, that will be utilized to bring the cable into the

building. They must test the signal strength at the location in order to ensure that the installation

will not saturate the network once the building is connected. The site surveys are then reviewed

by several teams at Charter and Altice in order to confirm the design plans and to create costing.

After completing a site survey, Charter and Altice also have to secure all the necessary materials

and confirm these plans with their subcontractors that will complete the work. Charter and

Altice have multiple crews that are working at various sites at the same time, so they must

coordinate to schedule these crews at the various locations. They must also coordinate with DSS

in order to ensure they will have access to the site. They must secure the necessary permits and

ensure that certificates of insurance are in place for each location.

       13.     After Charter and Altice have completed the survey and design work, they submit

a work order to DoITT, detailing the construction work and materials and a cost estimate. Once

DoITT approves the work order, which are turned around within 24-hours, the parties execute a

Special/Custom Construction Order Agreement (“SCCOA”) detailing the construction work and

costs for the site and a Service Order Form (“SOF”), to cover the ongoing monthly charges for

each apartment.

       14.     In the approximately one month since DoITT got approval to move forward with

this program, we have made extraordinary progress. Charter has completed site surveys at 39 of



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its 58 sites and Altice has completed site surveys at 118 of its 144 sites. Charter has submitted,

and the City has approved and signed SCCOAs and SOFs for 37 sites. Altice has submitted, and

the City has approved and signed, SCCOAs and SOFs for 40 sites.

       15.     We have provided both Charter and Altice a list of 30 priority sites, which will

take priority over all other sites. These priority sites were identified by DSS based on

information they collected about the conditions and experiences of students at those sites.

Charter has 11 priority sites and has begun work at each of these sites, along with 10 additional

sites. Charter has completed the installation project at one of its priority sites. Altice has 19

priority sites and has begun work at 8 of them, and has completed work at 1 of those 8. Altice

also has many SCCOAs in place for the remaining priority sites and should be able to commence

work at these sites shortly.

       16.     Ordinarily, these efforts - 157 site surveys, 77 signed SCCOAs, the

commencement of work at 29 sites - would take months, but because DoITT has made this

project one of its highest priorities, devoted commensurate resources to it, and made the urgency

of this project very clear to Charter and Altice, we have been able to greatly expedite these

projects.

       17.     DoITT is working very aggressively to manage the work being done by Charter

and Altice in order to ensure that WiFi will be installed at all 30 priority sites before March

2021. Construction has been completed at 2 sites and we expect that construction will be

completed, and WiFi installed, at additional sites this month, with many more completed in

January and February.

       18.     These are complicated, significant construction projects. All but 3 of the sites for

which SCCOAs have been approved and signed to date will require construction, some at a cost



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of over $150,000. So far, only 3 sites have been identified that have the infrastructure such that

apartments can be connected to WiFi with only the installation of a modem within the apartment.

One of those three sites is a priority site and has been completed. The other two locations are not

among the 30 priority sites, but will be completed within the next few weeks. In construction

projects of this scope and nature, any number of variables, such as weather, interruptions in

access to the site, the availability of required materials, or complications in the cable installation,

can cause unforeseen delays.

       19.     In parallel to working on the 30 priority sites, Charter and Altice can also assign

crews to the secondary priority sites, some of which will be completed in the same timeframe,

but due to the number of sites will stretch into the spring and summer of 2021. The process of

getting this enormous project up and running at DoITT, and at Charter and Altice, has required

the investment of significant upfront time and resources. DoITT has been focused on making

sure that we identify and address potential issues at the start. As a result, as we move forward,

DoITT expects the pace of construction will likely speed up.

       20.     A project of this nature would ordinarily be expected to take 2 years, if not more,

to complete. However, given the importance of this issue, DoITT has prioritized this project

within the agency and is aggressively managing Charter and Altice to meet the targeted

completion of the end of Summer 2021.

       21.     I understand the plaintiffs in this case are seeking an injunction that would order

the City to equip all shelters housing school-aged children with reliable WiFi access no later than

January 4, 2021. For all of the reasons explained in this declaration, I am certain that that date is




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unachievable and I believe the City’s plan will provide quality service on a highly aggressive

schedule.

       DATED this 4 day of December 2020 at New York, New York.




                                                    ________________________________
                                                            MICHAEL MCGRATH




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